              Case 2:17-cr-00206-JAK Document 33 Filed 06/04/18 Page 1 of 1 Page ID #:109


                                                                                                                   '1 6




                                                                                                    ~ ~~, zOfB

                                           UNITED STATES DISTRICT CO
                                                                     URT
                                          CENTRAL DISTRICT OF CALI
                                                                   FORNIA
      UNITED STATES OF AMERIC                                     CASE NUMBER:
                              A
                         v
                                                      PLAINTIFF       l~- - ~L~.O -!`~ T~ n

      (~~LJC~VI ~~L1~(~~~C'. ~~.(1~~1 ~1                                          WAIVER OF INDICTMENT
                                                    DEFENDANT

         I,       ~~c
    who is accused of                                                                             the above-named defendant,
    violation of (~- ~,(,,S ,~,.~                                                                                         in
                                      ~~(y~~~,~~`~ a.v~(,
   advised of the nature of the cha                               ~~ u,,S.(~ ~1~I C9~Crl C.3~
                                    rge, the proposed information, and                                                  ,being
                                                                        of my rights, hereby  ~ w^
                                                                                                 eai   n  ope
   ~   V,,r~ '~ ~ ~~~                                                                                          n cou rt on
                                             > prosecution by indictment and con
   information rather than by ind                                                sen t tha t the pro cee din gs may be by
                                  ictment.

       ~ ~y~l'~                                                            ~,._
  Date

      ~~`-~~i~
  Date


  D to
                        ~{ ~~~
                                                               Before




 If the defendant does not speak
                                   English, complete the following
                                                                  :
 I,
                                                  am fluent in written and spoken
 languages. I accurately translate                                                English and
                                   d this Waiver of Indictment fro
                                                                   m English to
 for defendant
                                                          on this date.


Date
                                                                        Interpreter




CR-57(06/14)
                                                   WAIVER OF INDICTMENT
